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From: TURNIPSEED, DORY (St Rose)
Sent: Monday, May 14, 2018 5:13 PM
To: Sherri Roane <sherri@tonti.net>
Subject: RE: Requested ESA Documents for Dory Turnipseed - SUNLAKE APTS



As of today (Monday 5/14)I still have not been contacted by anyone regarding
the paperwork we discussed for reasonable accommodation.

I spoke with my therapist over the weekend because the anxiety of waiting and
anticipation was becoming unbearable to the point where I feared becoming a
danger to myself.

I picked up my dog on Saturday.

I realize that you advised me to wait until the process was finished, but I
couldn’t. I am trying to go through the correct process, but as someone with
severe anxiety, this is unacceptable. It very possibly could have escalated to
suicidal ideations just waiting for someone to contact me.

My therapist has offered to get a legal advice for me since I don’t feel like my
request is being taken seriously and felt like I was being labeled a liar and a
fraud even though I gave you additional medical history information.

Again, I am trying to follow the policies you have in place, but you must realize
what waiting and anticipation and uncertainty does to someone like me.

I will not elaborate more on my mental health diagnoses. My therapist is aware
not only of my mental health history, but also of the specific events in my life
which led to my diagnoses.

Please contact me so that I can move forward with this process.



Thank you.
